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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO


In re:                                                    Bankruptcy No. 16-19895-JGR
                                                          Chapter 7
RICHARD EUGENE MURO, XXX-XX-3342
Debtor.


POTLATCH NO. 1 FEDERAL CREDIT UNION,
Movant,

v.

RICHARD EUGENE MURO, XXX-XX-3342, and

HARVEY SENDER, Chapter 7 Trustee,

Respondents.



           MOVANT'S CERTIFICATE OF NON-CONTESTED MATTER
                 AND REQUEST FOR ENTRY OF ORDER


      On November 7, 2016, Potlatch No. 1 Federal Credit Union, filed a motion
pursuant to Local Bankruptcy Rule 4001-1 entitled MOTION FOR RELIEF FROM
AUTOMATIC STAY, (Docket No. 14). Movant hereby certifies and shows the court:

       1. Service of the notice and motion were timely made on all parties against
whom relief is sought pursuant to L.B.R. 4001-1(a), or in the manner permitted by an
order of the court, (Docket No. 14), as is shown on the certificate of service previously
filed with the notice.

       2. A hearing on said motion was scheduled for Tuesday, November 29, 2016 at
9:30 a.m.

      3. No objections to or requests for hearing on the motion were received by the
undersigned or filed with the court or, if filed, were withdrawn.

      WHEREFORE, Movant prays that the court forthwith enter an order, a form
of which was submitted to the Court with the Motion (Docket No. 14), granting the
requested relief.
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 Dated: November 16, 2016          By: s/ Robert Gregory Busch
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